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                        UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF RHODE ISLAND

 ____________________________________
                                     )
 UNITED STATES                       )
                                     )
             v.                      )                  Cr. No. 18-141-JJM-LDA
                                     )
 THOMAS GOODMAN,                     )
             Defendant.              )
 ____________________________________)

                            MEMORANDUM AND ORDER

 JOHN J. McCONNELL, JR., Chief United States District Judge

       Thomas Goodman has petitioned this Court under 28 U.S.C. § 2255 to vacate,

 set aside, or correct his sentence, entered after he pled guilty to eight counts of sexual

 exploitation of a minor and one count of possession of child pornography. He now

 claims that the Court should vacate his sentence because he received ineffective

 assistance of counsel. The Court has determined that no hearing is necessary. The

 Court finds that Mr. Goodman’s Motion to Vacate (ECF No. 43) lacks merit and thus

 DENIES his petition.

 FACTS

       On October 11, 2018, Mr. Goodman pleaded guilty, pursuant to a written plea

 agreement, to eight counts of sexual exploitation of a minor, in violation of 18 U.S.C.

 § 2251(a) (Counts 1-8), and one count of possession of child pornography, in violation

 of 18 U.S.C. § 2252(a)(4)(B) and (b)(2) (Count 9). The Court sentenced him to a total
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 of 3120 months imprisonment, followed by supervised release for a term of life. 1 Mr.

 Goodman appealed two of his convictions and his sentence. The First Circuit affirmed

 the judgment and dismissed the sentencing challenges. He did not seek further

 review.

       Mr. Goodman timely filed this Motion to Vacate.

 LAW

       A.       Section 2255

       Section 2255 provides for post-conviction relief only if the court sentenced a

 petitioner in violation of the Constitution or lacked jurisdiction to impose the

 sentence, if the sentence exceeded the statutory maximum, or if the sentence is

 otherwise subject to collateral attack. United States v. Addonizio, 422 U.S. 178, 185

 (1979); David v. United States, 134 F.3d 470, 474 (1st Cir. 1998). In trying to

 collaterally attack his sentence, the petitioner bears the burden of proving

 “exceptional circumstances” that warrant redress under § 2255. See Hill v. United

 States, 368 U.S. 424, 428 (1962); Mack v. United States, 635 F.2d 20, 26-27 (1st Cir.

 1980). For example, an error of law must constitute a “fundamental defect which

 inherently results in a complete miscarriage of justice.” Hill v. United States, 368

 U.S. at 428.

       B.       Strickland




       1  Specifically, the Court sentenced Mr. Goodman to 360 months each as to
 Counts 1-8, to be served consecutively, and 240 months as to Count 9, to be served
 consecutively to his sentences for Counts 1-8.
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          The Sixth Amendment guarantees defendants the right to effective assistance

 of counsel. Lema v. United States, 987 F.2d 48, 51 (1st Cir. 1993) (citing Strickland

 v. Washington, 466 U.S. 668, 687 (1984)). That said, “[t]he Constitution does not

 guarantee a defendant a letter-perfect defense or a successful defense; rather, the

 performance standard is that of reasonably effective assistance under the

 circumstances then obtaining.” United States v. Natanel, 938 F.2d 302, 309-10 (1st

 Cir. 1991).

          A defendant who claims that he was deprived of his Sixth Amendment right to

 effective assistance of counsel must prove:

       (1)   that his counsel’s performance fell below an objective standard of
 reasonableness; and

        (2)    a reasonable probability that, but for counsel’s unprofessional errors,
 the result of the proceeding would have been different.

 Strickland, 466 U.S. at 687-88; United States v. Manon, 608 F.3d 126, 131 (1st Cir.

 2010).    In assessing the adequacy of counsel’s performance, a defendant “‘must

 identify the acts or omissions of counsel that are alleged not to have been the result

 of reasonable professional judgment,’ and the court then determines whether, in the

 particular context, the identified conduct or inaction was ‘outside the wide range of

 professionally competent assistance.’” Manon, 608 F.3d at 131 (quoting Strickland,

 466 U.S. at 690). As for the second prong, or the prejudice requirement under

 Strickland, a “reasonable probability is one sufficient to undermine confidence in the

 outcome.      In making the prejudice assessment, [the court] focus[es] on the

 fundamental fairness of the proceeding.” Id. (internal citation omitted). Unless the



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 petitioner makes both showings, the court cannot say that the conviction resulted

 from a “breakdown in the adversary process that renders the result unreliable.”

 Strickland, 466 U.S. at 687; see also Reyes-Vejerano v. United States, 117 F. Supp.

 2d 103, 106 (D. P.R. 2000) (“The petitioner has the burden of proving both prongs of

 this test, and the burden is a heavy one.”). In sum, “[t]he benchmark for judging any

 claim of ineffectiveness must be whether counsel’s conduct so undermined the proper

 functioning of the adversarial process that the trial cannot be relied on as having

 produced a just result.” Strickland, 466 U.S. at 686.

       Strickland instructs, “[j]udcicial scrutiny of counsel’s performance must be

 highly deferential.” Id. at 689. The court “must indulge a strong presumption that

 counsel’s conduct falls within the wide range of reasonable professional assistance;

 that is, the defendant must overcome the presumption that, under the circumstances,

 the challenged action ‘might be considered sound trial strategy.’” Id. (quoting Michel

 v. Louisiana, 350 U.S. 91, 101 (1955)). Moreover, “[a]n error by counsel, even if

 professionally unreasonable, does not warrant setting aside the judgment of a

 criminal proceeding if the error had no effect on the judgment.” Id. at 691. Finally,

 “[a] fair assessment of attorney performance requires that every effort be made to

 eliminate the distorting effects of hindsight, to reconstruct the circumstances of

 counsel’s challenged conduct, and to evaluate the conduct from counsel’s perspective

 at the time.” Id. at 689.

       The same principles apply in the context of guilty pleas. See Hill v. Lockhart,

 474 U.S. 52, 57 (1985). The Supreme Court held that “the two-part Strickland v.



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 Washington test applies to challenges to guilty pleas based on ineffective assistance

 of counsel.” Id. at 58; see also Padilla v. Kentucky, 559 U.S. 356, 371 n.12 (2010) (“In

 Hill, the Court recognized—for the first time—that Strickland applies to advice

 respecting a guilty plea.”). The first prong of the Strickland test is nothing more than

 a restatement of the standard of attorney competence described above.           Hill v.

 Lockhart, 474 U.S. at 58. The second, or “prejudice,” requirement, on the other hand,

 focuses on whether counsel’s constitutionally ineffective performance affected the

 outcome of the plea process. Id. at 59. “In the context of pleas a defendant must show

 the outcome of the plea process would have been different with competent advice.”

 Lafler v. Cooper, 566 U.S. 156, 163 (2012) (citing Missouri v Frye, 566 U.S. 134, 148

 (2012)); see also Frye, 566 U.S. at 147 (“To establish prejudice in this instance, it is

 necessary to show a reasonable probability that the end result of the criminal process

 would have been more favorable by reason of a plea to a lesser charge or a sentence

 of less prison time.”). The Court reiterated that, as stated in Strickland, “these

 predictions of the outcome at a possible trial, where necessary, should be made

 objectively . . . .” Hill v. Lockhart, 474 U.S. at 59-60.

 ANALYSIS

        As noted above, Mr. Goodman filed the Motion to Vacate (ECF No. 43), and the

 Government then filed a response in opposition to the motion (ECF No. 45). To date,

 Mr. Goodman has not filed a reply to the Government’s Opposition.

        Mr. Goodman alleges that “[c]ounsel’s failure to perform an adequate

 investigation resulted in denial of due process when a central fact supporting the



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 Court’s sentence—which would have been easily disproven—instead went

 unchallenged, both prior to sentencing and on appeal.” ECF No. 43 at 4. 2 Mr.

 Goodman argues that:

       Movant was denied due process during the guilt, punishment, and
       appeal stages of the criminal proceedings when neither defense councel
       [sic] nor appelate [sic] counsel reviwed [sic] the only evidence alleged to
       support the government’s claim that movant “admitted to distributing
       images of child pornography over the internet.” See Plea Hearing Tr.
       10/11/18 at 21. It was unreasonable for Movant’s attorneys to forego
       such a basic and fundamental investigative task as reviewing a recorded
       interview—a failure constituting ineffective assistance of councel [sic]—
       particularly where shirking such incumbent responsibility resulted in a
       denial of due process when the sentencing Court not only assigned
       additional guideline points based on the unfounded claim, but also
       contributed to the Court’s determination of an appropriate sentence.
       See Sentencing Hearing Tr. 3/22/19 at 33 (the Court telling Movant that
       enabling “others to continue to abuse your victim’s [sic]” by distributing
       the images via the internet represented “a level of depravity” beyond
       the Court’s comprehension). Based on such comment by the Court, and
       because the distribution enhancement was applied to eight of the nine
       charged counts, it is shown that distribution—which neither of Movant’s
       attorneys took time to investigate—was a central fact supporting the
       Court’s sentence. Movant further contends that a review of the recorded
       interview will prove conclusively that he never admitted to distribution
       nor made any assertions to that effect, so the sentencing Court relied on
       an assertion by the Government that was false.

 Id.

       Assuming, arguendo, that Mr. Goodman’s attorneys erred by failing to review

 the recorded interview, he cannot demonstrate that he was prejudiced by such failure.

 See Strickland, 466 U.S. at 697 (“[A] court need not determine whether counsel’s




       2   Page numbers refer to the pagination generated by the Court’s electronic
 case filing system (“ECF”). The Court has eliminated capitalization in Mr. Goodman’s
 Motion to Vacate except where appropriate.


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 performance was deficient before examining the prejudice suffered by the defendant

 as a result of the alleged deficiencies. . . . If it is easier to dispose of an ineffectiveness

 claim on the ground of lack of sufficient prejudice, which we expect will often be so,

 that course should be followed.”).

        In making this determination, the Court keeps several factors in mind. First,

 as noted above, “[t]he benchmark for judging any claim of ineffectiveness must be

 whether counsel’s conduct so undermined the proper functioning of the adversarial

 process that the trial cannot be relied on as having produced a just result.” Id. at 686.

 Second, “[a]n error by counsel, even if professionally unreasonable, does not warrant

 setting aside the judgment of a criminal proceeding if the error had no effect on the

 judgment.” Id. at 691. Third, in making the prejudice inquiry, the Court asks

 whether Mr. Goodman “has met the burden of showing that the decision reached

 would reasonably likely have been different absent the errors.” Id. at 696; see also

 Frye, 566 U.S. at 147 (“To establish prejudice in this instance, it is necessary to show

 a reasonable probability that the end result of the criminal process would have been

 more favorable by reason of a plea to a lesser charge or a sentence of less prison

 time.”). Mr. Goodman has not made the requisite showing.

        First, to recap, Mr. Goodman states that neither defense nor appellate counsel

 reviewed “the only evidence alleged to support the government’s claim that Movant

 ‘admitted to distributing images of child pornography over the internet,’” Mot. to

 Vacate at 4 (quoting Transcript of October 11, 2018, Change of Plea Hearing (ECF

 No. 39) (“Plea Hrng Tr.”) at 21), specifically a recorded interview Mr. Goodman gave



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 to law enforcement officers after his arrest, Plea Hrng. Tr. at 20-21. As a result of

 the alleged distribution, “the sentencing Court not only assigned additional guideline

 points based on the unfounded claim, but also contributed to the Court’s

 determination of an appropriate sentence,” Mot. to Vacate at 4, as evidenced by the

 Court’s statement during the sentencing hearing, see id. (quoting Transcript of March

 22, 2019, Sentencing Hearing (ECF No. 37) (“Sent. Hrng. Tr.”) (“enabling ‘others to

 continue to abuse your victim’s [sic]’ by distributing the images via the internet

 represented ‘a level of depravity’ beyond the Court’s comprehension”)).

       The statement in question occurred near the end of the hearing, before the

 Court sentenced Mr. Goodman, and should be viewed in that context. The Court first

 discussed the factors it was required to consider in sentencing Mr. Goodman. Sent.

 Hrng. Tr. at 29-30; see also 18 U.S.C. § 3553(a). 3 The Court then recognized that Mr.




       3   Section 3553(a) provides in relevant part:

       The court shall impose a sentence sufficient, but not greater than
       necessary, to comply with the purposes set forth in paragraph (2) of this
       subsection. The court, in determining the particular sentence to be
       imposed, shall consider --

           (1) the nature and circumstances of the offense and the history and
               characteristics of the defendant;

           (2) the need for the sentence imposed --

               (A) to reflect the seriousness of the offense, to promote respect for
                  the law, and to provide just punishment for the offense;

               (B) to afford adequate deterrence to criminal conduct;

               (C) to protect the public from further crimes of the defendant; and
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              (D) to provide the defendant with needed educational or
                 vocational training, medical care, or other correctional
                 treatment in the most effective manner;

          (3) the kinds of sentences available;

          (4) the kinds of sentence and the sentencing range established for --

              (A) the applicable category of offense committed by the applicable
                  category of defendant as set forth in the guidelines --

                    (i)    issued by the Sentencing Commission pursuant to
                           section 994(a)(1) of title 28, United States Code,
                           subject to any amendments made to such guidelines
                           by act of Congress (regardless of whether such
                           amendments have yet to be incorporated by the
                           Sentencing Commission into amendments issued
                           under section 994(p) of title 28); and

                    (ii)   that, except as provided in section 3742(g), are in
                           effect on the date the defendant is sentenced; or
              ...

       (5) any pertinent policy statement --

              (A) issued by the Sentencing Commission pursuant to section
                  994(a)(2) of title 28, Untied States Code, subject to any
                  amendments made to such policy statement by act of Congress
                  (regardless of whether such amendments have yet to be
                  incorporated by the Sentencing Commission into amendments
                  issued under section 994(p) of title 28); and

              (B) that, except as provided in section 3742(g), is in effect on the
                 date the defendant is sentenced.

       (6) the need to avoid unwarranted sentence disparities among
           defendants with similar records who have been found guilty of
           similar conduct; and

       (7) the need to provide restitution to any victims of the offense.

 18 U.S.C. § 3553(a) (footnote omitted).


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 Goodman himself was a victim of abuse. Sent. Hrng. Tr. at 30; see also id. at 31 (“[I]t

 is clear to me from what I know that as a result of your victimization, you went out

 and victimized.”). However, the Court continued:

       It’s one of those cases where the crime is so horrendous that it’s difficult
       to acknowledge that potentially your culpability isn’t as great as the
       seriousness of the offense that you committed.

        ...

       So evaluating your culpability, that is, the history and characteristics of
       you, isn’t the dominant factor that I look at whereas in some cases it is.
       It really turns the focus on the nature and seriousness of the offense.

 Id. at 31. The Court went on to describe the nature and seriousness of the crimes

 which Mr. Goodman had admitted committing. Id. at 31-32.

       The Court then stated:

       And so the question for the Court in determining an appropriate
       sentence is, what’s appropriate with what we know today. And the only
       conclusion I can come to, Mr. Goodman, is that I have one obligation that
       stands far and above everything else that I’m required to consider, all of
       which I’ve considered. Two things. One is how do I protect the public
       from you ever doing this again to anyone and how do I give assurances
       to your victims that they’ll never be abused at your hands again.

       And the only way that I can do that and I’m required to do that and will
       do that is to ensure that you never get out of prison again, that you never
       are allowed to or able to hurt anyone again. And it’s the protection of
       the public and it’s the confidence that the victims know that they will
       forever and ever and ever be protected from your hands that motivate
       the Court’s sentence.

       Again, it’s not punishment that’s motivating me in this at all in light of
       your history and characteristics. It’s protection of the public, and it’s to
       protect as best we can the victims to know and forever realize that you
       will not get out of prison and potentially hurt them again because I have
       no assurance, none, I have no assurance that this could ever - - that you
       will ever stop.



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          I mean, we haven’t even talked about - - we haven’t even focused on the
          fact that not only, Mr. Goodman, not only did you abuse your children
          in a violent and sexual manner, but you filmed it and you photographed
          it and you put it up on the internet for others to continue abuse your
          victims.

          The level of depravity that that represents to me is beyond - - absolutely
          beyond comprehension that I cannot take a chance, I cannot take a
          chance that you will do that to anyone again because I think you are
          that sick, whether it’s your own fault or not.

 Sent. Hrng. Tr. at 32-33. Mr. Goodman argues that the Court’s “depravity” comment

 and the additional points added to his offense level show that the distribution “was

 a central fact supporting the Court’s sentence.”         Mot. to Vacate at 4.    The full

 statement, however, demonstrates that the Court’s primary concerns were protecting

 the public, i.e., potential future victims, and protecting the victims from further

 abuse.

          Mr. Goodman made a similar claim, among others, in his direct appeal,

 although not in the guise of ineffective assistance of counsel. See United States v.

 Goodman, 971 F.3d 16, 22 (1st Cir. 2016). There, Mr. Goodman argued that “the

 record is devoid of facts to support the District Court’s application of a two-level

 increase to his total offense level based on the conclusion that he distributed the

 images of child pornography that he had produced . . . .” Id. The First Circuit noted

 “the apparent import the District Court gave to that finding in sentencing him as

 severely as it did.” Id. at 22. The court then stated:

          But, the un-objected-to presentence report prepared by the United
          States Office of Probation and Pretrial Services recommended, for each
          of the eight counts of sexual exploitation of a minor, the two-level
          enhancement “because the defendant knowingly engaged in the



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       distribution of [the] images”—images that he pleaded guilty to
       producing—that supported each count.

 Id. (quoting United States v. Miranda-Diaz, 942 F.3d 33, 40-41 (1st Cir. 2019))

 (alteration in original). 4 Although the First Circuit ultimately concluded that the

 appeal waiver in the Plea Agreement barred consideration of the substance of Mr.

 Goodman’s sentencing challenges, id. at 19, it also stated that “there was no

 ‘miscarriage of justice’ in the District Court making the finding that it did in the

 absence of any objection from [Mr.] Goodman,” id. at 22.

       Prior to the March 22, 2019, sentencing hearing, Probation and Pretrial

 Services prepared the PSR, to which the First Circuit referred, and calculated Mr.

 Goodman’s advisory guideline imprisonment range as life. PSR ¶153. However,

 because the statutorily authorized maximum sentences were less than the maximum

 of the applicable guideline range, the guideline range was 3120 months, which

 represented the total number of months for all the statutory maximum terms of

 imprisonment. Id.; see also Sent. Hrng. Tr. at 6-7 (noting “many other machinations

 that the guidelines require and the statute requires comes with a recommended

 period of incarceration of 3,120 months, which is 260 years, with a caveat that each

 of the first eight counts carry with it a 15-year mandatory minimum”). Thus, at

 bottom, the added points for distribution had no impact on Mr. Goodman’s sentence,




       4  As the presentence investigation report (ECF No. 21) (“PSR”) states, Mr.
 Goodman “stipulated to this enhancement [for distributing images over the internet]
 in the plea agreement.” PSR ¶ 95 (citing Plea Agreement (ECF No. 12) (“Plea
 Agrmt.”) ¶ 4(f)); see also Plea Agrmt. ¶ 4(f) (referencing U.S.S.G. § 2G2.2).

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 as the recommended guideline sentence and the statutory sentence imposed were the

 same.

         Mr. Goodman filed no objections to the PSR. See PSR, Addendum (ECF No.

 21-1) at 1. Nor did Mr. Goodman object to the PSR during the sentencing hearing.

 Sent. Hrng. Tr. at 7.

         In addition, as the First Circuit correctly observed, Mr. Goodman had

 “knowingly engaged in the distribution of [the] images – images that he pleaded

 guilty to producing – that supported each count.” Goodman, 971 F.3d at 22 (alteration

 in original) (internal quotation marks omitted). During the October 11, 2018, change

 of plea hearing, Mr. Goodman admitted that the facts of the case, as described by the

 Government, including that he distributed pornography over the internet, were true.

 Id. at 21, 26.

         The Court first advised Mr. Goodman to “pay particular attention” to the

 Government’s recitation of the facts because it would then ask him if he “admit[ted]

 the facts as stated by the Government as true.” Id. at 18. After describing the events

 leading to Mr. Goodman’s arrest and subsequent search of his phone on May 17, 2018,

 id. at 19-21, the AUSA stated:

         After being placed under arrest on that same day, Mr. Goodman was
         transported from Rhode Island Hospital to the State Police
         Headquarters in Scituate. After again being read his Miranda rights,
         the Defendant agreed to provide a recorded statement.

         Defendant admitted in substance and in part that he possessed child
         pornography on his phone, his home computer and on an external hard
         drive. He also admitted to distributing images of child pornography to
         others over the internet.



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 Id. at 21 (emphasis added). Following the AUSA’s recitation of the elements of the

 crimes with which Mr. Goodman was charged and the facts of the case, the Court

 stated:

        Mr. Goodman, you heard the elements of the charges the Government
        has brought against you. I again remind you they’d have to prove each
        and every one of those elements beyond a reasonable doubt for you to be
        found guilty of any or all of those charges.

        You also heard the facts the Government would prove if this case were
        to go to trial. Do you admit the facts as stated by the Government as
        true?

               THE DEFENDANT: I do.

               THE COURT: Mr. Goodman, before I ask you about your change
        of plea, do you have any questions for the Court or did you want to
        discuss any matter with your attorney?

               THE DEFENDANT: No.

              THE COURT: How do you now plead to the nine-count
        Information brought against you, guilty or not guilty?

               THE DEFENDANT: Guilty.

 Id. at 25-26. 5




        5The Government states in its Opposition that, in preparing its response to
 the Motion to Vacate, it reviewed the recorded interview Mr. Goodman gave to law
 enforcement. Opp. at 8. According to the Government:

        In this recorded statement, defendant did, in fact, admit to receiving and
        distributing child pornography over the internet through text messages,
        emails and online applications. In fact, he specifically identified a
        particular application he commonly used to receive and distribute
        images of child pornography. Defendant was more circumspect,
        however, when asked if he had ever distributed sexual images he took
        of his own daughter and simply stated: “I may have.”


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       Prior to the Government’s recitation of the facts, the Court had reviewed the

 statutory minimum and maximum penalties Mr. Goodman faced and stated that, if

 imposed consecutively, the maximum term of imprisonment was 260 years. Id. at

 14. 6 Mr. Goodman affirmed that he understood the statutory penalties he faced. Id.

 at 15. The Court also explained how his guideline range would be calculated under

 the U.S.S.G. Id. at 15-17. In addition, the Court asked Mr. Goodman if he had

 reviewed the Plea Agreement with counsel and if he was satisfied with the

 representation he had received from trial counsel, and he responded affirmatively to

 both questions. Plea Hrng. Tr. at 9, 11-12.

       In short, Mr. Goodman cannot claim to have been unaware of the penalties he

 faced under the statutes or guidelines, or that points would be added for distribution

 (to which he had admitted in open court). He has provided no evidence that the

 outcome of the proceeding would have been different, see Lafler, 566 U.S. at 163; Hill

 v. Lockhart, 474 U.S. at 59, i.e., that he would have rejected the plea or received a

 lesser sentence, see Frye, 566 U.S. at 147, had counsel viewed the video of his

 interview with law enforcement. Thus, the Court cannot find that Mr. Goodman was




 Id.; see also id. at 9 (noting that Mr. Goodman “admitted to law enforcement that he
 distributed images of child pornography over the internet but did not unequivocally
 state that he distributed sexual images of his own daughter.”).
       6   The Plea Agreement also listed the statutory minimum and maximum
 penalties for each count and stated that: “If imposed consecutively, the minimum and
 maximum penalties for all offenses to which Defendant is pleading guilty are: a
 minimum term of imprisonment of 15 years with a maximum term of imprisonment
 of 260 years [3120 months] . . . .” Plea Agrmt. ¶ 6.



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 prejudiced by counsel’s alleged ineffectiveness or that “counsel’s conduct so

 undermined the proper functioning of the adversarial process that the [proceedings]

 cannot be relied on as having produced a just result,” Strickland, 466 U.S. at 686.

                                       CONCLUSION

       Mr. Goodman’s Motion lacks merit. The Court therefore DENIES Thomas

 Goodman’s Motion to Vacate his sentence (ECF No. 43) under 28 U.S.C. § 2255.

                 RULING ON CERTIFICATE OF APPEALABILITY

       Under Rule 11(a) of the Rules Governing § 2255 Proceedings in the United

 States District Courts (“§ 2255 Rules”), this Court finds that this case is not

 appropriate for issuing a certificate of appealability, because Mr. Goodman has failed

 to make a substantial showing of the denial of a constitutional right on any claim, as

 required by 28 U.S.C. § 2253(c)(2).

       Mr. Goodman is advised that any motion to reconsider this ruling will not

 extend the time to file a notice of appeal here. See § 2255 Rule 11(a).



 IT IS SO ORDERED.




 __________________________
 John J. McConnell, Jr.
 Chief United States District Judge

 Date: April 25th, 2022




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